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 2
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 6   Attorneys for MTGLQ Investors, LP, its assignees and/or successors, by and through its
     servicing agent Rushmore Loan Management Services LLC
 7
 8
                              UNITED STATES BANKRUPTCY COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
                                       LOS ANGELES DIVISION
11
12   In re                                          )   Case No. 2:17-bk-23651-NB
                                                    )
13                                                  )   Chapter 13
     Letitia Louise Wellington,                     )
14
                                                    )   OBJECTION TO CONFIRMATION OF
15                Debtor.                           )   CHAPTER 13 PLAN
                                                    )
16                                                  )   341(a) Meeting of Creditors:
17                                                  )   Date: 12/15/2017
                                                    )   Time: 08:00 AM
18                                                  )   Place: Suite 1050 – Room 1
                                                    )          915 Wilshire Boulevard
19
                                                    )          Los Angeles, CA 90017
20                                                  )   Confirmation Hearing:
                                                    )   Date: 3/8/2018
21                                                  )   Time: 9:30 AM
22                                                  )   Ctrm: 1545, 15th Floor
                                                    )   Place: 255 E. Temple Street
23                                                  )          Los Angeles CA
                                                    )
24                                                  )   Judge: Neil W. Bason
25                                                  )
                                                    )
26                                                  )
                                                    )
27
                                                    )
28                                                  )

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                                                1                                           File No. CA-17-141684
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 1          MTGLQ Investors, LP, its assignees and/or successors, by and through its servicing agent
 2   Rushmore Loan Management Services LLC, (“Secured Creditor”) in the above-entitled
 3   Bankruptcy proceeding, hereby submits the following Objections to Confirmation of the Chapter
 4   13 Plan proposed by (“Debtor”) Letitia Louise Wellington.
 5          1.      Secured Creditor is entitled to receive payments pursuant to a Promissory Note
 6   which matures on 6/1/2038 and is secured by a Deed of Trust on the subject property commonly
 7   known as 1353 Hauser Boulevard, Los Angeles, CA 90019. As of 11/4/2017, the approximate
 8   amount in default was $48,561.59. A Proof of Claim detailing the arrearages is forthcoming and
 9   will be filed on or before the claims bar date; however, Secured Creditor submits the following
10   objections to timely preserve its rights and treatment under the proposed Plan
11          2.      The proposed Plan does not provide for pre-petition arrearages owed to Secured
12    Creditor. To cure the pre-petition arrearages of $48,561.59 over the term of the Plan within 60
13    months, Secured Creditor must receive a minimum payment of $809.35 per month from the
14    Debtor through the Plan. Although Debtor does not provide for payments to Secured Creditor,
15    Debtor's Plan provides for payments to the Trustee in the amount of $100.00 per month for 60
16    months. Debtor does not have sufficient funds available to cure the arrears over the term of the
17    Plan within 60 months. Therefore, the Plan is not feasible. A true and correct copy of Debtor's
18    Schedules I and J are attached hereto as Exhibit "1".
19          3.      The Debtor’s plan proposes to pay unsecured creditors ahead of the secured claim
20    of the objecting Creditor. Such a proposal is not allowed and Secured Creditor objects to such a
21    plan. Accordingly, the plan should not be confirmed.
22          4.      Unless otherwise ordered, under 11 U.S.C. § 1326(a)(1), the Debtor shall
23    commence making the payments proposed by the Plan within 30 days after the Petition is filed.
24    The Plan must comply with all applicable provisions of 11 U.S.C. § 1325 to be confirmed. As
25    such, the Plan cannot be confirmed.
26   ///
27   ///
28   ///
29   ///


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 1
 2                                           CONCLUSION
 3          Any Chapter 13 Plan proposed by the Debtor must provide for and eliminate the
 4   Objections specified above in order to be reasonable and to comply with applicable provisions of
 5   the Bankruptcy Code. Secured Creditor respectfully requests that confirmation of the Chapter 13
 6   Plan as proposed by the Debtor be denied, or in the alternative, be amended to provide for full
 7   payoff of the arrearages owed to Secured Creditor.
 8          WHEREFORE, Secured Creditor prays as follows:
 9          1.     That confirmation of the Proposed Chapter 13 Plan be denied, or in the
10   alternative, be amended to provide for full payoff of the arrearages owed to Secured Creditor
11   within 60 months;
12          2.     For attorneys’ fees and costs herein,
13          3.     For such other relief as this Court deems proper.
14
                                                Respectfully submitted,
15
16                                              McCarthy & Holthus, LLP

17          2/12/2018
                                               By: /s/ Merdaud Jafarnia
18
                                                   Merdaud Jafarnia, Esq.
19                                                 Attorney for Secured Creditor
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                    1770 Fourth Avenue
                                                   San Diego, CA 92101

A true and correct copy of the foregoing document entitled (specify): OBJECTION TO CONFIRMATION OF CHAPTER
13 PLAN will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/14/2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

TRUSTEE                                            DEBTOR(S) COUNSEL                                    US TRUSTEE
Kathy A Dockery (TR)                               Scott Kosner                                         ustpregion16.la.ecf@usdoj.gov
efiling@CH13LA.com                                 tyson@tysonfirm.com




                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 2/13/2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR(S)
Letitia Louise Wellington, P.O. Box 351000, Los Angeles, CA 90035



                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/13/2018                      Hue Banh                                                        /s/ Hue Banh
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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ADDITIONAL SERVICE INFORMATION
BORROWER(S)
Amos O Wellington, 1353 Hauser Boulevard, Los Angeles, CA 90019




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
